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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
CREIGHTON TAKATA, Individually            Civil No. 3:18-CV-02293(FLW)(ZNQ)
and on behalf of all others similarly
situated,

               Plaintiff,

      v.
RIOT BLOCKCHAIN, INC. F/K/A,
BIOPTIX, INC., JOHN O’ROURKE,
JEFFREY G. McGONEGAL, BARRY
HONIG, CATHERINE
DEFRANCESCO, MICHAEL
BEEGHLEY, JOHN STETSON, MARK
GROUSSMAN, ANDREW KAPLAN,
MIKE DAI, JASON LES, and ERIC SO,

               Defendants.


   DEFENDANT RIOT BLOCKCHAIN, INC.’S RULE 7.1 DISCLOSURE
                      STATEMENT

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      Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Riot Blockchain,

Inc. (“Riot”) hereby certifies, by and through its undersigned attorneys, that Riot is

a corporation, incorporated under the laws of the State of Nevada, with its principal

place of business in the State of Colorado. Riot further certifies that, as of this

date, Riot does not have a parent corporation and no publicly held corporation

owns more than ten percent of its stock.




     DATED: September 11, 2019                PAUL HASTINGS LLP


                                              By: /s/ Chad J. Peterman
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